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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

_________________________________________
                                          )
UNITED STATES OF AMERICA and              )
THE DISTRICT OF COLUMBIA, ex rel.         )
JANEEN CARRINGTON,                        )
                                          )
                  Plaintiffs,             )
                                          )
            v.                            )                             Civil Action No. 12-CV-1775 (KBJ)
                                          )
HOUSE OF RUTH,                            )                             FILED UNDER SEAL
                                          )
                  Defendant.              )
                                          )
_________________________________________ )

                                MEMORANDUM OPINION & ORDER

               DISMISSING THE CASE PURSUANT TO 31 U.S.C. § 3730(B)(1) WITHOUT
                              PREJUDICE TO THE UNITED STATES

         On November 11, 2012, the plaintiff brought this action on behalf of the United States and the

District of Columbia, seeking to recover damages arising from false claims made by the defendants in

violation of the Federal False Claims Act, 31 U.S.C. § 3729, and the District of Columbia False Claims

Act, D.C. Code §§ 2-381.01. On June 27, 2013, plaintiff filed a notice of voluntary dismissal. (ECF No.

4.)

         Such an action may only be dismissed if the court and the Attorney General give written consent

to the dismissal and their reasons for consenting. 31 U.S.C. § 3730(b)(1). On June 27, 2013, the United

States gave its consent to the dismissal of the action, but it failed to articulate its reasons for consenting as

required by the statute. (ECF No. 5.) 1 Accordingly, on July 1, 2013, the court ordered the United States

to show cause why the case should be dismissed. (See Minute Order of July 1, 2013.) On July 8, 2013,

the United States responded that, along with the District of Columbia, it had investigated the plaintiff’s


1
 The United States’ notice of consent to dismissal provided that the District of Columbia similarly consented to
dismissal without prejudice to the District of Columbia. (ECF No. 5.)
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allegations and deemed that it was not in the interest of the government to devote resources to pursue the

litigation and informed plaintiff’s counsel that it planned to decline to intervene in the matter. (U.S. Resp.

to Order to Show Cause, ECF No. 7, at 1-2.)

        Having now reviewed and considered plaintiff’s voluntary dismissal and the government’s

reasons for consenting to the dismissal, the court concludes that the requirements of 31 U.S.C. §

3730(b)(1) have been satisfied. Accordingly, the case is hereby dismissed without prejudice to the United

States or the District of Columbia. Accordingly, it is hereby

        ORDERED that the case is dismissed.



Date: July 10, 2013                                        Ketanji Brown Jackson
                                                           KETANJI BROWN JACKSON
                                                           United States District Judge
